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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                 Eastern Division

Waters Industries, Inc.
                                         Plaintiff,
v.                                                         Case No.: 1:10−cv−04487
                                                           Honorable James B. Zagel
Totes Isotoner Corporation, et al.
                                         Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 9, 2011:


        MINUTE entry before Honorable James B. Zagel:Status hearing held on 3/9/2011.
Case is dismissed with prejudice and without costs pursuant to settlement. Civil case
terminated. Mailed notice(drw, )




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